                 Case 2:03-cr-00371-JAM Document
                              UNITED STATES      810 FiledCOURT
                                              DISTRICT    05/27/10 Page 1 of 2
                               EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                        )
         v.                                             )    CR NO: 2:03-cr-371 MCE
                                                        )
AMOS JACKSON, III

                           APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                      : Ad Prosequendum                            9 Ad Testificandum.
Name of Detainee:            AMOS JACKSON, III

Detained at (custodian):      USP LEE
Detainee is:   a.)    : charged in this district by:
                            : Indictment                     9 Information                  9 Complaint
                            Charging Detainee With:          BANK ROBBERY
         or    b.)    9 a witness not otherwise available by ordinary process of the Court
Detainee will: a.)    9 return to the custody of detaining facility upon termination of proceedings
       or      b.)    : be retained in federal custody until final disposition of federal charges, as a sentence is
                        currently being served at the detaining facility
Appearance is necessary FORTHWITH in the Eastern District of California.
                              Signature: /s/ William S. Wong
                              Printed Name & Phone No: WILLIAM S. WONG - (916) 554-2790
                              Attorney of Record for:    United States of America

                                        WRIT OF HABEAS CORPUS
                          : Ad Prosequendum                          9 Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the
above-named custodian.




 Dated: May 26, 2010

                                                    ________________________________
                                                    MORRISON C. ENGLAND, JR.
                                                    UNITED STATES DISTRICT JUDGE




Please provide the following, if known:
 AKA(s) (if applicable):                                                              Male 9       Female 9


Form Crim-48                                                                                           Revised 11/19/97
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 Booking or CDC #:        14672-097                               DOB:
 Facility Address:             P.O. Box 900                                       Race:
                               Jonesville, VA 24263                               FBI #:
 Facility Phone:               (276) 546-0150
 Currently Incarcerated For:   Bank Robbery



                                                RETURN OF SERVICE



Executed on              by
                                                                    (Signature)




Form Crim-48                                                                               Revised 11/19/97
